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                         Attorneys for Defendants
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                    10                               UNITED STATES DISTRICT COURT
                    11                              NORTHERN DISTRICT OF CALIFORNIA
                    12                                      SAN FRANCISCO DIVISION
                    13

                    14   PARAG AGRAWAL, NED SEGAL, VIJAYA                    Case No. 3:24-cv-01304-MMC
                         GADDE, and SEAN EDGETT,
                    15                                                        ADMINISTRATIVE CONSENT
                                              Plaintiffs,                     MOTION TO CONSIDER WHETHER
                    16                                                        CASES SHOULD BE RELATED
                                       vs.                                    UNDER CIVIL LOCAL RULES 3-12
                    17                                                        AND 7-11
                         ELON MUSK; X CORP., f/k/a Twitter, Inc.;
                    18   TWITTER, INC. CHANGE OF CONTROL                     Complaint Filed: March 4, 2024
                         AND INVOLUNTARY TERMINATION
                    19   PROTECTION POLICY; TWITTER, INC.
                         CHANGE OF CONTROL SEVERANCE
                    20   AND INVOLUNTARY TERMINATION
                         PROTECTION POLICY; LINDSAY
                    21   CHAPMAN; BRIAN BJELDE; and DHRUV
                         BATURA,
                    22
                                              Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP               ADMINISTRATIVE CONSENT MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED 3:24-
 ATTORNEYS AT LAW                                                                            CV-01304-MMC
  SAN FRANCISCO
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                     1          Pursuant to Civil Local Rules 3-12(b) and 7-11, Defendants Elon Musk, X Corp., the

                     2   Twitter, Inc. Change of Control and Involuntary Termination Protection Policy, the Twitter, Inc.

                     3   Change of Control Severance and Involuntary Termination Protection Policy, Lindsay Chapman,

                     4   Brian Bjelde, and Dhruv Batura (collectively, “Defendants”) hereby file this Administrative

                     5   Consent Motion to Consider Whether Cases Should be Related. Defendants submit that, pursuant

                     6   to under Civil Local Rule 3-12(a), the action entitled Sarah Personette, et al. v. Elon Musk, et al.,

                     7   Case No. 3:24-06266-JCS (“Personette Action”) is related to the instant action (“Agrawal Action”).

                     8   See Compl., Case No. 3:24-06266-JCS, Dkt. 1 (N.D. Cal. Sept. 5, 2024). Defendants further submit

                     9   that the Personette Action is also related to Caldwell v. Musk, et al., Case No. 3:24-cv-02022-MMC
                    10   (“Caldwell Action”) and Kaiden v. Musk, et al., Case No. 3:24-cv-03554-MMC (“Kaiden

                    11   Action”).1

                    12          Pursuant to Civil Local Rule 3-12(a), actions are related to one another when (1) “[t]he

                    13   actions concern substantially the same parties, property, transaction, or event,” and (2) “[i]t appears

                    14   likely that there will be an unduly burdensome duplication of labor and expense or conflicting

                    15   results if the cases are conducted before different Judges.” These elements are satisfied here, and

                    16   Plaintiffs consent to relating the Personette Action with the other actions referenced herein.

                    17   I.     THE ACTIONS CONCERN SUBSTANTIALLY                                THE     SAME       PARTIES,
                                PROPERTY, TRANSACTION, OR EVENT
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                                The Personette Action involves several of the same Defendants—Musk, X Corp., and the
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                         Twitter, Inc. Change of Control and Involuntary Termination Protection Policy—as the Agrawal,
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                         Caldwell, and Kaiden Actions. These actions involve substantially the same transactions or events,
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                         namely, Defendants’ alleged failure to pay Plaintiffs the severance benefits allegedly owed to them
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                         under the Plan. Defendants contend that all of the plaintiffs in both actions were properly terminated
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                         from employment for “Cause” and, thus, are not entitled to severance benefits. Accordingly, much
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                         of the evidence relevant to the claims in all cases overlaps.
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                         1
                    26     On August 7, 2024, this Court issued an Order finding that the Caldwell and Kaiden cases are
                         related. See Related Case Order, Caldwell v. Musk, et al., Case No. 3:24-cv-02022-MMC, Dkt.
                    27   53 (Aug. 7, 2024) (“On the basis of the material submitted to the Court, as the Judge assigned to
                         the earliest filed case, I find that the cases are related as defined by Civil L.R. 3-12(a).”).
                    28                                                                   ADMINISTRATIVE CONSENT MOTION
                                                                                             TO CONSIDER WHETHER CASES
MORGAN, LEWIS &                                                            2
 BOCKIUS LLP                                                                              SHOULD BE RELATED 3:24-CV-01304-
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                                                                                                                     MMC
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                     1   II.    IT IS LIKELY THERE WILL BE AN UNDULY BURDENSOME DUPLICATION
                                OF LABOR AND EXPENSE OR CONFLICTING RESULTS IF THE CASES
                     2          PROCEED BEFORE DIFFERENT JUDGES

                     3          As set forth above, the Personette Action concerns the same defendants and substantially

                     4   the same legal claims and theories as the Agrawal, Caldwell, and Kaiden Actions. As a result, if

                     5   these actions are adjudicated before different judges, there will be an unduly burdensome

                     6   duplication of labor and expense, as well as a risk of inconsistent results. Accordingly, relating the

                     7   Personette Action to the Agrawal, Caldwell and Kaiden Actions will serve the interests of judicial

                     8   economy and avoid potentially conflicting results.

                     9   III.   CONCLUSION
                    10          For the foregoing reasons, Defendants request that the Court issue an order relating the

                    11   Personette Action with the Agrawal, Caldwell, and Kaiden Actions. The Personette Plaintiffs

                    12   consent to this Motion and requested relief.

                    13   Dated: November 15, 2024                              MORGAN, LEWIS & BOCKIUS LLP

                    14                                                         By     /s/ Christopher Boran
                                                                                    Eric Meckley
                    15                                                              Jeremy Blumenfeld (admitted pro hac vice)
                                                                                    Christopher Boran (admitted pro hac vice)
                    16                                                              Abbey Glenn
                                                                                    Brian Sullivan (admitted pro hac vice)
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                                                                               Attorneys for Defendants
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                    28                                                                     ADMINISTRATIVE CONSENT MOTION
                                                                                               TO CONSIDER WHETHER CASES
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 BOCKIUS LLP                                                                                SHOULD BE RELATED 3:24-CV-01304-
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